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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

C.K.-W., a minor by and through her parent           )
T.K., individually and on behalf of those            )
similarly situated, et al.,                          )
                                                     )
                         Plaintiffs,                 )
                                                     )
v.                                                   )       Case No. 4:22 CV 191 MTS
                                                     )
WENTZVILLE R-IV SCHOOL DISTRICT,                     )
                                                     )
                                                     )
                         Defendant.


                                       RULE 16 CONFERENCE

         IT IS HEREBY ORDERED that

         1. Scheduling Conference: A Scheduling Conference pursuant to Fed. R. Civ. P. 16 is set

for June 2, 2022, at 1:00 p.m. The conference will be via video on Zoom. Hearing participants

are directed to use the following login information to participate by www.zoomgov.com: Meeting

ID: 160 969 4455, Password: 355339. All participants are directed to add their name (right click

and select Rename) to their profile upon entering the Zoom hearing. Or, participants may call: 1-

669-254-5252, Meeting ID: 160 969 4455. At the scheduling conference counsel will be expected

to discuss in detail all matters covered by Fed. R. Civ. P. 16, as well as all matters set forth in their

joint proposed scheduling plan described in paragraph 3, and a firm and realistic trial setting will be

established at or shortly after the conference.

         2. Meeting of Counsel: Prior to the date for submission of the joint proposed scheduling

plan set forth in paragraph 3 below, counsel for the parties shall meet to discuss the following:

         ●      the nature and basis of the parties' claims and defenses,



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      ●       the possibilities for a prompt settlement or resolution of the case,

      ●       the formulation of a discovery plan,

      ●       any issues relating to preserving discoverable information,

      ●      any issues relating to disclosure or discovery of electronically stored information,
      including-

             (i)    the form or forms in which it should be produced,

             (ii)   the topics for such discovery and the time period for which such discovery
                    will be sought,

             (iii) the various sources of such information within a party’s control that
                   should be searched for electronically stored information, and

             (iv) whether the information is reasonably accessible to the party that has it, in
                  terms of the burden and cost of retrieving and reviewing the information,

      ●      any issues relating to claims of privilege or of protection as trial-preparation
      material, including - if the parties agree on a procedure to assert such claims after
      production - whether to ask the Court to include their agreement in an order, and

      ●       other topics listed below or in Fed. R. Civ. P. 16 and 26(f).

      Counsel will be asked to report orally on the matters discussed at this meeting when they

appear before the undersigned for the scheduling conference, and will specifically be asked to

report on the potential for settlement; whether settlement demands or offers have been

exchanged, without revealing the content of any offers or demands; and, suitability for

Alternative Dispute Resolution. This meeting is expected to result in the parties reaching

agreement on the form and content of a joint proposed scheduling plan as descried in paragraph

3 below.

      Only one proposed scheduling plan may be submitted in any case, and it must be signed

by counsel for all parties. It will be the responsibility of counsel for the plaintiff to submit the

joint proposed scheduling plan to the Court. If the parties cannot agree as to any matter required

to be contained in the joint plan, the disagreement must be set out clearly in the joint proposal,




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and the Court will resolve the dispute at or shortly after the scheduling conference.

     3. Joint Proposed Scheduling Plan: filed with the Clerk of the Court no later than
May 27, 2022. All dates required to be set forth in the plan shall be within the ranges set forth
below for the applicable track:

Track 1: Expedited                   Track 2: Standard                    Track 3: Complex
*Disposition w/in 12 mos of filing   *Disposition w/in 18 mos of filing   *Disposition w/in 24 mos of filing
*120 days for discovery              *180-240 days from R16 Conf for      *240-360 days from R16 Conf for
                                      discovery/dispositive motions        discovery/dispositive motions

The parties' joint proposed scheduling plan shall include:

       (a) whether the Track Assignment is appropriate; NOTE: This case has
           been assigned to Track 3 Complex;

       (b) dates for joinder of additional parties or amendment of pleadings;

       (c) a discovery plan including:

             (i) any agreed-upon provisions for disclosure or discovery of electronically stored
            information,

             (ii) any agreements the parties reach for asserting claims of privilege or of protection
            as trial-preparation material after production,

             (iii) a date or dates by which the parties will disclose information and exchange
            documents pursuant to Fed. R. Civ. P. 26(a)(1),

             (iv) whether discovery should be conducted in phases or limited to certain issues,

             (v) dates by which each party shall disclose its expert witnesses’ identities and
            reports, and dates by which each party shall make its expert witnesses available for
            deposition, giving consideration as to whether serial or simultaneous disclosure is
            appropriate in the case,

             (vi) whether the presumptive limits of ten (10) depositions per side as set forth in
            Fed. R. Civ. P. 30(a)(2)(A), and twenty-five (25) interrogatories per party as set forth
            in Fed. R. Civ. P. 33(a), should apply in this case, and if not, the reasons for the
            variance from the rules,

             (vii) whether any physical or mental examinations of parties will be requested
            pursuant to Fed. R. Civ. P. 35, and if so, by what date that request will be made and
            the date the examination will be completed,

            (viii) a date by which all discovery will be completed (see applicable track range,
            Section 3. above),




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              (ix) any other matters pertinent to the completion of discovery in this case,

              (x) the parties’ positions concerning the referral of the action to mediation or early
                  neutral evaluation, and when such a referral would be most productive as is;

      (d) dates for filing any motions to dismiss, motions for summary judgment or, if
      applicable, any motion to exclude testimony pursuant to Daubert v. Merrell Dow
      Pharmaceuticals, Inc., 509 U.S. 579 (1993) or Kuhmo Tire Co. Ltd v. Carmichael, 526
      U.S. 137 (1999), (see applicable track range, Section 3. above);

      (e) the earliest date by which this case should reasonably be expected to be ready for
      trial (see applicable track range, Section 3. above);

      (f) an estimate of the length of time expected to try the case to verdict; and

      (g) any other matters counsel deems appropriate for inclusion in the joint
      proposed scheduling plan

      4. Disclosure of Corporate Interests: All non-governmental corporate parties are

reminded to comply with Disclosure of Corporate Interests by filing a Certificate of Interest with

the Court pursuant to E. D. Mo. L. R. 2.09.

      5. Pro Se Parties: If any party appears in this action pro se, such party shall meet with all

other parties or counsel, participate in the preparation and filing of a joint proposed scheduling

plan, and appear for the scheduling conference, all in the same manner as otherwise required by

this order.

      Dated this 11th day of May, 2022




                                                         MATTHEW T. SCHELP
                                                         UNITED STATES DISTRICT JUDGE




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